                                                                        CLERK'
                                                                             S OFFICE U,S,DISX COURT
                                                                               AT ROAMOKE,VA
                                                                                    FILED

                                                                                  MA2 2i 2215
                   IN T H E U N ITED STATES D ISTRICT CO U RT
                   FOR TH E W ESTE RN D ISTRICT OF VIRGIN IA                 JULIA C.DUDLG CLERK
                                                                            BY;
                            H ARRISO N BU RG D IW SION


  JOSE N UN EZ-GARCIA,                     )     Case N o.5:09CR0035
        Petitionery                        )
                                           )
                                           )
  UNITED STATES OF AM ERICA,               )     By:M ichaelF.U rbansld
      Respondent.                          )     ClliefUnited StatesDistdctJudge


                              M EM O M N D U M O PIN ION

        Jose Nlm ez-Garcia,a former federalinmate who currently is awaiéng deponaéon
  following revocadon ofhisciézenship,hasftled a m oéon to vacate,setaside,orcorrectllis

  sentenceptzrsuantto28U.S.C.j2255.Nunez-Garciaseeksatemporarystay ofdeportation
  and also asksto betransported to theW estern DistdctofVitginiavia awzitofhabeascom us

  ad testx candum . The goveznm enthasresponded to the m odons. A s discussed m ore 6llly

  below,the colzrtDE N IE S them otion to stay and the m otion fora writofhabeascorpusad

  teséficéndum ,butdirectstheclerk to setan evidentiaryhearingand arrangeforG arcia-N unez

  to parécipateviavideo conferenceftom im rnigraéon custody.

                                     BACKGR OU N D

        O n Septem ber 15, 2009 N unez-G atcia was indicted on two counts related to a

  m etham phetam ine dealing conspitacy w llich began no later than February 12, 2009 and

  conénued untilApril29,2009. ECF N o.1 at 1,3. O n Febzuary 26,2010,N unez-G arcia

  entered into awritten pleaagreem entin Wllich he pleaded guilty to Count1 oftheindic% ent.

  ECF N o.69 at1.A change ofplea heating washeld on M atch 1,2010 ita ftontofaU nited




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  StatesMagisttateJudgewhorecommended thatNtmez-Garcia'spleaagreementbeaccepted.
  ECF Nos.73,78.OnMay6,2010judgmentwasenteredagainstNunez-Gatciaandhewas
  sentenced to aterm of70 m onthsin theBureau ofPdsonsto be followed by as-yeatterm of

  superdsed release. ECF N o.84 at2-3.

         N unez-Garcia wasborn in M exico and apphed to becom e aU nited Statescitizen.A s

  partofthe naturalization application process,and dlzring the tim e period he wasitw olved in

  the m etham phetanùne conspiracy, N unez-G azcia attested under oath in a naturalization

  interdew thathehad nevezcom m itted actim e otoffense forw hich hehad notbeen arrested.

  O n Aplil29,2009,two w eeksafterhisnaturalizaéon interdew,N unez-G arciawasarrested by

  locallaw enforcem ent,charged in connecéon with the m etham phetarnine conspizacy,and

  releasedon bond.Nunez-Gatciawasscheduledforanatt
                                                 m limadon ceremonyonluly4,2009.
  W hen he arrived at the natuzalization cerem ony,he was required to subm it a follow-up

  quesdonnaiterelated to hisim rrligration application and hestated thathehad notbeen arrested

  orcharged forviolation ofany law and affifvned theanswerson hisoriginalapplication.

         Followingthefederalindictm enton them etham phetaminecharges,N unez-G atciawas

  atrested and on September24,2009 hewasreleased on bond. On January9,2010 hewas
  charged in state colzrtwith itw oluntary m anslaughter,felony eluding,D UI,and child abuse.

  Thechatgesatoseoutofan incidentninedaysearliezw herepolicettied to stop him fordriving

  erradcally. N unez-G arcia clid notstop but1ed the police on a chase,wllich ended with his

  having a single ca.
                    r accidentresuldng in the death of his seventeen-yeat-old passenger. On

  N ovem ber15,2010,N unez-G arciapleaded guiltypleato allöfthechargesexceptchild abuse.

  H e was sentenced to ten yearson the aggravated D UI m anslaughter charge with five years



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  suspended;two years on the eluding police charge;and twelve m onths,suspended,on the

  D U 1charge.The s-yearsentence wasto run consecudvely to llisfedetalsentence and the 2-

  yearsentence was to run concurrently w1t.11hisfederalsentence. ECF N o.124 at7-8. The

  child abuse chargewasdtopped.Nunez-G atciawaszepresented by Scot'tH ansen on both the

  state and federalcharges.

        N unez-G arciaserved seven yearson the state chargesbeforehe began serdng the70-

  m onth federalsentence. ECF N o.117 at3.On N ovem ber21,2016,hisfedetalsentencewas

  reduced from 70 m onthsto 57m onthsaftezan applicablesentencing guidelinesprovision was

  lowezed and m ade retroacdvely applicable to him . E CF N o.119. In addition,he soughtan

  orderfrom the courtdecladng thathis federalterm ofim prisonm entzun concutrently with

  lnisstate term . ECF N o.122. The courtgranted lnim lim ited relief,finding thatthe two-year

  sentence fozeluding policeshould run concutrently w1t.11hisfederalsentence.ECF N o.124.

         Onlanuary27,2016acomplaintwasflledagainstNunez-GarciaintheEasternDistdct
  ofVitginia alleging he had m ade false statem entsunder oath as part ofhis applicadon for

  naturalizaéon.The com plaintrefezred to the questionsw here he had stated thathe had not

  com m itted acHm e forwhich hehad notbeen artested during the tim e hewaspardcipating in

  themethamphetannine conspiracy.United Statesv.Nunez-Garcia,1:16-cr-39 (E.D.Va.Jun.
  2,2016),atECF N os.1 and 2.A bench trialwasheld on Apr.il18,2016 and hewasfound
  gtélty.J-I.
            L atECF N o.30.

         On July 8, 2016 Nunez-Garcia was sentenced to tim e served and hvo yers of
  superdsed release on the false statem entcharges.A sacondition ofllissuperdsed telease,he

  w as to be surrendered to a duly-authorized im m igradon ofhcial fot deportadon review in


                                               3
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  accordancewith established procedurespzovided by the Im m igradon and N aturalizadon A ct.

  J-dxatECF N o.38,p.4.Thatsameday,an orderwasenteredrevokingltisciézenship.1d.at
  ECF N o.40.

        N unez-G arcia appealed the convicdon to the Fourth CitcuitCouttofAppealswhich

  affit-med.United Statesv.Nunez-Gaêcia,No.16-4415 (4th Cir.April18,2017). Hethen
  soughtawritofcertiozarifrom theUnited StatesSuprem e Courtw hich denied hispeétion on

  Febrtzary20,2018.Nunez-Garciav.United States,No.17-6426 Teb.20,2018).
        N unez-G arcia cutrently isin deportaéon proceedings and is det/ined in ICE custody

  in W akullaCountylailin Crawfordville,Florida.On May21,2018heteceivednoticethaton
  the basisofthe methamphetamineconviction hewas subjectto removalputsuantto jj
  237(a)(2)(B)(i)and237(a)(2)(A)@ )ofthelmmigraéon andNaéonalityAct.ECF No.125at
  10. I-
       lis counsel asserts that a depoztation order was entered agqinst him on or about

  N ovem ber6,2018and hehasflled aém elyappealofthatorderwith theBoard ofIm m igraéon

  Appeals(<%1A7').ECF No.145at2.
        Petiéonetflledtheinstant28U.S.C.j2255motiontovacateon October25,2018and
  alleges thathe received ineffective assistance of counselin the m etham phetanùne case.H e

  cbim sthatduring the plea negotiations hisattorney told him thathe did nothave to worry

  aboutbeing depotted becausehehad been in theUnited Statesforalong Hm e.H e cbim sthe

  attozney also told lnim thathewasaboutto be swotn in asaUnited Statescidzen and assoon

  asthathappened he would notbe depottable.ECF N o.125 at5.A sa result,he clnim s that

  llispleawasitw oluntaly and thatifhehad been accurately advised,hewould nothave entered

  the gtul
         'ty plea.Li at7. Nunez-Garcia has flled a modon to temporalily stay depoladon


                                              4
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  proceedingspendingadjudicationofllishabeascomusclnim andarequestforawritofhabeas
  corpusad teséhcandum to w hich thegovernm enthasresponded and N unez-G atciareplied.

                                    H PLICABLE IA W

        Atissue iswhether a districtcourthas juzisdiction to temporatily stay an otder of
  deportationpendingadjudicationofanunderlyinghabeascase.In 1996Congresspassedthe
  ImmigraéonReform andImmigrantResponsibilityAct(IIRIRAIwhich,amongotherthings,
  repealed the then-exiséng scheme for judicialreview of hnalordets of deportaéon and
  replaceditwit.hamorerestticévescheme.Hatanziv.ltid e,270F.Supp.2d763,766-767(E.D.
  Va.2003) (cidng 8 U.S.C.j 1252 etseq.and Reno v.American-o ab Anti-Discriminaéon
  Committee,525U.S.471,474 (1999)).
         Courtsin theFolzrth Circtzithavecited 8U.S.C.j 1252(g)to :nd thatpeééonersin
  circllm stancessim ilar to G arcia-N unez are barred from obtaining a stay ofa rem ovalorder.

  Secdon 1252addtessesjudicialreview ofordersofremovalandSecdon 1252/)providesthe
  following:

         Exclusivelurisdiction
         Except as provided in this section and notwithstancling any othez provision oflaw
         (stattztory or nonstatm ory),inclucling section 2241 ofTitle 28,or any otherhabeas
         com us provision, and secéons 1361 and 1651 of such title, no court shallhave
         jurisdicéon to heatany causeorclnim byozon behalfofany alien arisingfrom the
         decisionoractionbytheAttorneyGenezaltocommenceproceedings,adjudicatecases,
         orexecuterem ovalordetsagainstany alien underthischapter.

         In Hatanai,a lawfulperm anentresident facing im m inenttem oval from the U nited

  States soughta tem porary stay ofa rem ovalorderto allow him the opporttznity to pursue a

  state habeaslawsdt.H e was facing deportation after having been convicted ofassaultand

  batteryandsentencedto twelvemonthsin jail,with six monthssuspended fottwoyeats.He

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  allegedthathereceivedineffecdveassistanceofcounselinthestateadjudicaéonbecausehis
  attorney failed to advise him ofthe im m igradon consequences ofpleading gul
                                                                             'lty to a ctim e

  carrying apenaltyofm orethan oneyearand failed to negotiateorotherwiseobtain a sentence

  ofone day less than a yeat.l H atanli,270 F.supp.zd at766.A s part ofhis habeas com us

  complaint,hesoughtapreliminaryinjuncéonstayingtheremovalorder11.
                                                                 r1t11hisstatehabeas
  com uspeddon couldbeadjudicated.Id.
        The dis
              -ttict court denied relief,   Ending thatj 1252(g) precluded consideraéon of
  H atanli's requestfor a tem porary stay. In response to the argum ent thatdenialofthe stay

  effecévely denied hisrequestfor habeasrelief,the couttfound he could continue to putsue

  his habeas law suit even after rem ovalbecause his presence in Virgitùa was not requited.

  Finally,the courtnoted thatifH atannishould ultim ately ptevailon llishabeasclnim ,he could

  seekre-entryto thecountryorotherwisetakestepsto addresshisimmigraéon status. Ldaat

  768(citi.
          n Smithv.Ashcroft,295F.3d425,428 (4th Cir.2002)).
         HatatnireliedingreatpartonMa o v.Carroll,185F.3d 224 (4th Cir.1999),even
  thoughMa o didnotinvolveantmdezlyinghabeasclnim.There,apetdonerwassubjectto
  an orderofdeportaéon and flledacomplaintforitjuncévereliefand apeddon forawritof
  habeascom usseekingastay ofdeportadon and an otderreleasinghim ftom detention.J.dz.at
  227.'l'he IN S opposed the m oéons butagreed itw ould not depozt the pedtioneruntilthe

  disttictcourtconsidered thecom plaintand petition.Lt.
                                                      k TheIN S argued thattheclistrictcourt

  clid nothavejudsdiction overtheremovalorderand also thatan injuncdon should notissue



  18U.S.C.j1227(a)(2)(A)(i)(ii
                             )providesthatffAnyalienwhoisconvictedofacrimeforwhichasentenceof
  oneyear(lrlongermaybeimposed isdepottable.''

                                                 6
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  because the peddoner cotzld not show a substanéallikelihood ofsuccess on the m erits.Id.

  Thedistrictcourtgrantedapreliminaryinjunctionstayingapedéoner'sdeportaéonandissued
  an otderdttecting tlae IN S to release him ftom custody.

        TheFourthCitclzitappliedj1252(g)andfoundthatthedisttictcourterredinfmding
  ithadjurisclicéonovertheordetofdeportaéon.Tfcongresscouldhardlyhavebeenmoteclear
  andunequivocalthatcourtsshallnothavesubjectmatterjurisdicdonoverclnimsatisingfrom
  theacdonsoftheAttorneyGeneralenllmeratedin j1252(g)otherthan jtzrisdietion thatis
  specihcallyprovidedbyj1252....Secéon 1252pzovidesthatanalienwhowishestochallenge
  a fm alorderofrem ovalm ustflleapetiéon forzeview ofsuch an otderin thecourtofappeals.''

  JA at230.SinceHatamiandM a o ,othezdistdctcourtsintheFoutth Citcuithaveruledin a

  sim ilar fasbion.See Hutton v.W estVir ' 'a,N o.1:13CV186,2014 W L 856489,*7,n.10

  (N.D.W .Va.,2014) (noting it'
                              l28 U.S.C.j 2245 habeas case thatthe districtcotutlacked
  jurisdictiontograntpeétioner'srequestforan orderstayinghispendingremovalpzoceedings)
  and Tobar-Barrera v.N a olitano,CivilN os.RD B 09-3064 and RD B 10-0176,2010 W L

  972557*2(D.Md.2010)(findingdistrictcouttnotauthorizedtoenjoinremovalproceedings
  pendingbeforetheimmigzaéon coutt,even thoughithadjurisdictiontoissueadeclaratory
  judgmentthatpetdonerwasentitledtoa& novoasyllpm adjudicaéon).
         Nunez-Gatciapointsoutthatothercourtshave found thatj 1252(g)doesnotapply
  to casesthatdo notffatise fzom 7'thedecision otacdon by theA ttorney G eneralto com m ence

  proceedings,adjudicatecases,orexecuteremovalordersagainstanyalien underthischapter.
  In otherwords,heargtzesthatacourtm ay stay an orderofrem ovalto giveitan opporm nity




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  toadjudicateeitheranunderlyingmatter,such asthej2255peétionhere,oraFederalTort
  Cbim sActcase.

        InRagbirv.United States,No.2:17-cv-1256-KM,2018W L 1446407 (D.N.
                                                                       J.M ar.23,
  2018),adistrictcourtissued a30-day stay ofremovalso thatahearing cotzld beheld on a
  pedtbn for comlm nobis.The petiéonerraised issues sim ilarto the issuein thiscase insofar

  ashe soughtto challenge lzisunderlying convicdon forwire fraud and conspiracy in paàtby

  alleging ineffecdve assistance ofcounsel. Ra biz,2018 W L 1446407 at*3. The cout-tfound

  ithad authority to issuethe stay,reasoning that(1)neithera cotnlm nobispedtion northe
  m odon to stay were a Tfcause'or clnim '' that Tfarisgesj from'' the Attorney General's
  disczetionaty acéonswithin themeaning ofj1252@);(2)Section 1252(g),asintemreted by
  Reno,ffbarsonlyjudicid review ofcertnin entzmerated exetcisesofexecutivediscredon to
  prosecuteremovalpzoceedingsi''and(3)thatthepowertograntastayisaninhetentjudicial
  Power Tv cident to the cotut's jurisdicdon over a coram nobis petition, wllich has a
  ConstitutionalHim ension in thatitensuzesorderlyzeview and m eaningfulaccessto thecourt.''

  Id.at7.

        A lthough the opinion in Ra biz is detailed and thoughtful,this court respectfuBy

  declinesto follow itbecause itconflictswith the holding in M a o thatCongressclearly and

  unequivocallystatedthatcourtsdonothavesubjectmatterjutisclictionto considerfmalorders
  of removal.See Fed.De osit Ins.Co .v.Fa an,459 F.supp.933,939 O .S.C.1978)
  (cornmenti
           ngthatadistrictcouztisboundbydecisionsoftheCourtsofAppealofthecizcuit




                                              8
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  untilsuch decisions arechanged).Thus,Ra bir ptovides no support for Nunez-Garcia's
  requestfoz astay.z

        N unez-Garcia also argues thatthis courthas authority under the Al1W rits A ct to

  tem poradly stay the deportadon ordez,cidng in supportN ken v.H older,556 U .S.418,426

  (2009),andMichaelv.I.N.S.,48F.3d657,664(2dCit.1995).Nkenisdistingllishablebecause
  itaddressed thestandard ofreview governing astay ofremovalpending adjudicadon ofa
  petidon forzeview byacourtofappeals.Couttsofappealshavejurisdiction toreview final
  orders of rem oval and they m ay prevent an order of rem oval from taldng effect while

  adjudicadngthepetition. See, enezall,8U.S.C.j1252($.TheCourtinNkenwascalled
  upon to decide whether the standatd used to decide to stay a rem ovalorder is ffcleat and

  convincing evidence thatthe entt'y orexecution ofan orderispzohibited by lam ''as setout

  in j 1252($(2),orwhetherthe tradiéonalstandard fora stay should apply.3 The Court
  deterrnined thatthettaditionalstandazd applies.N ken,556U .S.at436.H owevetthatdecision


  2In addition,Ra birdiffezsfrom theinstantcasein thatthepetidonertherehad exhausted
  hisstatutoryappeals,whereasN unez-Garcia'sappealto theBIA ispencling and ifthestayis
  denied,hewillbeable to appealto the Eleventh CitcuitCouttofAppealsforrelief. Counsel
  fozN unez-G arcianoted thatthe deportadon orderw asentered agninsthim on N ovem bet8,
  2018 and heappealed it. Counselspoketo a deportation officezw ho told herthatappealsto
  theBIA by detained alienswere taking hveto six m onthsto resolve. Ifreliefisdenied by
  theBIA,N unez-G atciawillhavethittydaysto appealto theEleventh CitcuitCourtof
  Appealsandmayalsoseekastayinthatcourt.See8U.S.C.j1252q$.ThecourtinRa bir
  granted alim ited 30-day stay so thatthe case could receive properconsideraéon. Based on
  the currentadnlinistrativeproceedings,thezeisno reason to believethatN unez-G arciawill
  be deported within thenexttlnitty days.
  3Undertheffttaditionalstandatd,''acouttconsidersfourfactots:<ff(1)whetherthestay
  applicanthasmadeastrong showingthatheislikelyto succeedon themerits;(2)whethez
  theapplicantwillbeitteparablyinjuredabsentastay;(3)whetherissuanceoftlaestaywill
  substantiallyinjuretheotherpatéesintezestedin theproceeding;and (4)wherethepublic
  interestlies.'''Nken,556U.S.at425-426 (citingHilton v.Braunskill,481U.S.770,776
  (1987:.
                                              9
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  clid notaddressa disttictcourt's ability to stay a tem ovalaction and doesnotoffer authority

   forthiscourtto do so.

         N orisV chaelv.I.N .S.helpfulto N unez-G azcia.W hile the case doesstate thatthe

  A1lW tits Act ptovided the Coutts ofAppealw1t.11 an independent statutory basis to stay

  deportation pencling ruling on a m oéon to zeopen,the case wasdecided pzioz to enac% ent

  oftheIIRIRA and doesnotaddresstheexclusivejudsdictionpzovision ofj1252(g).
         Nunez-GarciaalsocitesAtcev.United States,899F.3d796(9th Cir.2018),wherethe
  Ninth Citcuitheld thatj1252(g)did notprecludean orderstayingremovalwhen aplaintiff
   suedtheUnited StatesundertheFederalTortClnimsAct(FTCA)fordamagesresultingfrom
  an earlierwrongfulrem ovalthatoccutred in violadon ofa tem porary stay issued by theCout't

  ofA ppeals.Thecourtfound thatbecausetheplaindffw asnotattackingthetem ovalitself,the

  clnim sdid notarise from therem ovalotderbutfrom violation ofan earliezcoutt'sotdez,and

  thereforethedistdctcourthad jutisdiction tostaytheremoval.Id.at800.
         The Eighth Citctzitreached the opposite conclusion on sim ilarfactsin Silvav.United

   States,866F.3d938(8t.h Cir.2017).There,thecouztzejected an argument,amongothers,
   that j1252(g) does notapply to clqimsundez the FT'CA or Bivensv.Six Unknown Fed.
  NarcoécsAgents,403 U.S.388 (1971),becausethecausesofacéon arenotspecihed in the
   statazte.Thecouttcommented thatffgtqhelimitaéon on judscliction ....appliesto zaljycause
   orclnim by oron behalfofany alien'thatadsesftom a decision to execute a rem ovalorder,

   so itw asunnecessaty forCongtess to enum ezate everypossible cause orclnim .'' Id.at941.'

   (emphasisin origm
                   'a1).




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        lnsum,courtsareinconflictaboutthereach ofj1252(g)andwhetheradistrictcourt
  can stay an order ofdepoztaéon,even tem porarily. Given thatcourtsin the Fourth Circtzit

  have thtïs fa.
               r found that district cotuts do not have such authority, this couttD EN IES

  N unez-G arcia'sm odon to stay depottadon proceeclingspending agninsthim .

        N unez-G arcia asksin the alternaive forthe courtto issue awtitofhabeascop usad

  tesdhcandum to allow him to patécipatein an evidendary hearing on hispedtbn.Inasm uch

  asitappearsthatN unez-G atciaislikely to rem ain in thiscountry fora few m ore m onths,the

  cletkisdirectedtosetanevidendaryhearingonNunez-Garcia'sj2255petidon andtoarrange
  hisappearancebyvideo conference from imm igraéon custody.Them odon forwdtofhabeas

  com usad testi:candlzm istaken underadvisem entpending the schedllling ofthishearing.




               ENTERED:                     :J- o/- 2.0 /7
                                           f+f DVAV /.                                   '
                                                   M icha     .U rbansld           .
                                                   Chi .    tlited StatesDistrictJudge




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